Case 6:14-cr-00063-JCB-JDL        Document 91        Filed 11/12/15   Page 1 of 7 PageID #:
                                         335



                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TEXAS
                                TYLER DIVISION

UNITED STATES OF AMERICA                    §
                                            §
v.                                          §             CRIMINAL NO. 6:14-CR-63
                                            §
JEREMY CHAD TIDWELL (1)                     §
SHANNA PEEK TIDWELL (2)                     §

                          MEMORANDUM OPINION AND ORDER

       Before the Court is Defendant Shanna Peek Tidwell’s motion to release seized funds

pursuant to Rule 41(g) of the Federal Rules of Criminal Procedure. (Doc. No. 59.)        The

government filed a response in opposition (Doc. No. 63), to which Ms. Tidwell filed a reply

(Doc. No. 64). On April 7, 2015, Ms. Tidwell amended her motion (Doc. No. 68), and on June

5, 2015, Ms. Tidwell amended her motion for a second time (Doc. No. 71). On June 10, 2015,

Defendant Jeremy Tidwell filed a motion to incorporate Ms. Tidwell’s motion and arguments

therein. (Doc. No. 72.)    The government filed additional responses in opposition to these

amendments and incorporations. (Doc. Nos. 69, 87, 90.) On November 3, 2015, the Court held a

hearing on Defendants’ Motions.      Having considered the parties’ arguments, Defendants’

Motions (Doc. Nos. 59, 68, 71, and 72) are DENIED.

                                      BACKGROUND

       On November 12, 2014, the government indicted Defendants Jeremy Chad Tidwell,

Shanna Peek Tidwell, and Brian Tidwell for violations of 21 U.S.C. § 846. An arrest warrant

issued, and on December 3, 2014, all three Defendants made their initial appearances. At that

time, the government seized numerous assets of the Tidwells and their associated businesses,

including 1,100 pounds of synthetic drug inventory, known bank accounts, large quantities of

U.S. currency, and other assets deemed to have been proceeds of criminally-derived activity
Case 6:14-cr-00063-JCB-JDL          Document 91       Filed 11/12/15     Page 2 of 7 PageID #:
                                           336



pursuant to 21 U.S.C. § 853, 21 U.S.C. § 881(a)(6), 18 U.S.C. § 981(a)(1)(A) and (C), 18 U.S.C.

§ 982(a)(1), and 18 U.S.C. § 984.        Defendants Shanna and Jeremy Tidwell (hereinafter

“Defendants” or “the Tidwells”) filed the instant motions seeking the release of certain assets

seized by the government. Trial on the indicted offense is presently set for January 6, 2015,

before the Honorable Michael H. Schneider.

                                         DISCUSSION

       At the hearing, Defendants specifically requested the release of payroll and sales tax for

the month of November 2014, and three days in December 2014. Defendants submitted Exhibit

G, a schedule for estimated sales and sales tax liability for that period, and maintained that the

Court should direct the release of $51,643.80 to the State of Texas to cover the tax liability for

that time frame. Similarly, Defendants maintained that $11,353.11 should be released to satisfy

payroll taxes for that time period. Defendants argue that this money never belonged to them and

that it was held in trust for the State of Texas and the federal government. In their briefing,

Defendants maintained that a number of the bank accounts seized by the government were those

used to pay state and federal taxes and sought release pursuant to Rule 41(g) of the Federal Rules

of Criminal Procedure. (Doc. No. 59, at 1.)

       Rule 41(g) provides that:

       A person aggrieved by an unlawful search and seizure of property or by the
       deprivation of property may move for the property’s return. The motion must be
       filed in the district where the property was seized. The court must receive
       evidence on any factual issue necessary to decide the motion. If it grants the
       motion, the court must return the property to the movant, but may impose
       reasonable conditions to protect access to the property and its use in later
       proceedings.


Fed.R.Crim.P. 41(g).




                                                2
Case 6:14-cr-00063-JCB-JDL           Document 91        Filed 11/12/15      Page 3 of 7 PageID #:
                                            337



       Here, the Tidwells do not contest the search or seizure was illegal for purposes of these

motions, but ask that the funds be released under the equitable jurisdiction of the Court. (Doc.

No. 59, at 2.) Defendants provide no direct authority for the release of the funds prior to the

criminal disposition of this action. Based on the authority the parties have presented, it appears

the issue of whether the Court may release funds seized by the government that were held in trust

for the payment of sales and payroll taxes to the state and federal governments is a matter of first

impression. Unique to this situation is the fact that Defendants were selling products the

government alleges to be illegal in an open and obvious manner out of their stores. As a result,

Defendants contend that they were collecting and paying sales tax on the sale of those items.

       Defendants cite to Texas Tax Code § 111.016 to support the position that the funds were

being held in trust for the benefit of the state. The Texas Tax Code provides in relevant part:

       Any person who receives or collects a tax or any money represented to be a tax
       from another person holds the amount so collected in trust for the benefit of the
       state and is liable to the state for the full amount collected plus any accrued
       penalties and interest on the amount collected.

Texas Tax Code § 111.016(a) (Vernon 2001).

       Defendants also cite to two cases to support their position that they were de facto trustees.

The first case, In re Amber’s Stores, Inc., is a bankruptcy case where the court in the Northern

District of Texas held that § 111.016(a) creates a trust for the benefit of the Comptroller, and that

the store, as the collector of the tax, was a trustee. 205 B.R. 828, 830 (Bankr. N.D. Tex. 1997).

The second case, Serna v. H.E. Butt Grocery Co., also notes that a store, in collecting sales tax,

acts as an agent of the State of Texas government. 21 S.W.3d 330, 333 (Tex. App. - San Antonio

1999, no pet.) With regard to payroll taxes, Defendants cite to 26 U.S.C. §6672 and In re

Ingram for the proposition that payroll taxes are also held in trust. Case No. 12-53579, 2014 WL

644501 (Bankr. W.D. Tex. Feb. 19, 2014). In supplemental briefing, the government argues that


                                                 3
Case 6:14-cr-00063-JCB-JDL          Document 91       Filed 11/12/15      Page 4 of 7 PageID #:
                                           338



the cases cited by Defendants are distinguishable because the cases did not involve criminal

proceedings. (Doc. No. 90, at 1.) The Court accepts that under the Texas Tax Code, the Internal

Revenue Code, and the supporting case law, the Tidwells, as collectors of sales and payroll

taxes, were de facto trustees for the State of Texas and the federal government. However, for the

reasons discussed below, the Court finds that the funds in question should not be released.

       As noted above, there is no cited authority supporting the release of these funds at this

stage of the proceedings. The only analogous situation presented to the Court is a request to

release seized funds to hire an attorney. In considering the release of funds based on the Sixth

Amendment right to an attorney, courts have held that a defendant must show: (1) there were no

assets other than those subject to forfeiture with which to pay defense costs and living expenses;

and (2) a bona fide reason to believe that the grand jury erred in finding probable cause to

believe the restrained property was subject to forfeiture if the defendant were convicted. U.S. v.

Simpson, No. 3:09-cr-249, 2011 WL 195676 (N.D. Tex. Jan. 20, 2011). Defendants argue that

the right to an attorney is distinguishable from their situation because they are not seeking the

release of funds belonging to them personally, but requesting funds held in trust for the

government be released back to the government taxing authorities.

       While the Court agrees that a request for funds released to pay for an attorney is not

directly analogous to the situation at hand, the required showing in those cases is instructive.

The funds at issue here were seized by the government pursuant to grand jury indictment as

proceeds of criminally-derived activity. In order to release such funds prior to the disposition of




                                                4
Case 6:14-cr-00063-JCB-JDL                 Document 91           Filed 11/12/15         Page 5 of 7 PageID #:
                                                  339



the criminal allegations, the Court is of the opinion that Defendants must, at a minimum, present

an evidentiary record supporting the release of the requested funds.1

         First, because Defendants’ primary argument that the funds should be released rests on

the fact that the money seized was that held in trust for the government, Defendants must make

some showing that the money or accounts seized were actually that which was collected and held

in trust for the payment of sales and payroll taxes. Second, Defendants should make a showing

that they did not undertake any acts which would have violated their trust obligations—i.e. that

their actions are consistent with those of a person acting as a trustee for the state or federal

government.

         Here, Defendants have not made an attempt to show the funds seized were actually held

in trust for the government; specifically, Defendants have not shown that the accounts seized

contained the funds that would have been used to pay sales and payroll taxes for their stores.

Defendants even concede that only “a number of these bank accounts” were those used to pay

state and federal taxes. (Doc. No. 59, at 1.) While there is record of Defendants’ past payments

of sales and payroll taxes, indicating that Defendants had been paying taxes on the sale of goods

in their stores, ultimately, Defendants have failed to put forward any evidence to show that

money seized by the government was that which was being held in trust. Nor have Defendants

provided any evidence of how they handled money generated by their stores. For example, a

reasonable showing may have included the earmarking of sales tax at the time of sale coupled

with evidence regarding the ordinary business practice of when that money was collected and

processed, and ultimately where that money was held until taxes were paid. The record suggests

1
  Even if the requisite showing was made, it would not necessarily compel the release of funds. In this case, because
the Court’s conclusion is that there is an absence of a requisite evidentiary showing by the Defendants, the Court
need not determine whether seized funds pursuant to grand jury indictment and an assumed lawful search and
seizure can be released prior to the resolution of the criminal proceedings.


                                                         5
Case 6:14-cr-00063-JCB-JDL                  Document 91           Filed 11/12/15          Page 6 of 7 PageID #:
                                                   340



that such a pattern and practice perhaps did not exist where Defendants were keeping significant

amounts of cash in their bedroom.

         The record here is insufficient to determine whether Defendants were acting properly as

trustees for the government. Setting aside the fact that the funds at issue were almost entirely

generated from sales the government contends were illegal, which may in and of itself be enough

to violate the trust,2 Defendants’ business practice with respect to the sale of goods, including the

comingling of funds in cash and other assets, suggests that Defendants may have breached the

fiduciary duty they owed to the government. See, e.g., Ruby Robinson Co., Inc. v. Herr, 453

F.App’x. 463, 465-66 (5th Cir. 2011) (finding shareholders personally liable for breaching their

fiduciary duty to preserve trust assets).              In this regard, the government’s allegations and

evidence3 that Defendants have other means to pay the taxes owed are entirely relevant because,

if Defendants violated a duty owed to the government, that money could and should be used to

pay the Defendants’ tax liability.4

         In sum, Defendants have provided no evidence that their actions were those of a prudent

trustee. Without such a minimal showing, the Court cannot conclude that funds seized pursuant

to grand jury indictment as derived from criminal activity should be released for the payment of

taxes prior to the resolution of the criminal allegations.



2
  Because the Court concludes that the release of funds is improper at this time, the Court need not decide whether
sales and payroll taxes derived from the sale of allegedly illegal goods can be held in trust as a matter of law. As the
State of Texas has not intervened here, the Court is unaware of its position on this issue. Nor has the federal
government taken a clear position on this issue.
3
  The government has put forth evidence of assets not seized that are believed to be owned by the Tidwells,
including, a Colorado bank account containing approximately $15,000; a 1972 Cessna airplane; four personal
watercraft vehicles; a 1977 boat; a 2010 boat; a 2013 ATV vehicle; four 2013-2014 dirt bikes; a 2012 motorcycle; a
Kubota tractor; and various trailers. (Doc. No. 63, at 5-6.). The government also points out that the Tidwells
continue to operate one of their stores and that Defendants have had the opportunity to earn money from other
sources to pay their taxes since they were placed on pretrial release.
4
  To be clear, the Court is not finding that Defendants have breached a fiduciary duty; rather, the Court simply finds
that the record is insufficiently developed to support release of the requested funds.


                                                           6
Case 6:14-cr-00063-JCB-JDL      Document 91       Filed 11/12/15     Page 7 of 7 PageID #:
                                       341



                                     CONCLUSION

      For the reasons discussed herein Defendants’ Motions (Doc. Nos. 59, 68, 71, and 72) are

DENIED.




          So ORDERED and SIGNED this 12th day of November, 2015.




                                             7
